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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

CAROLYN ANDERSON, On Behalf of                  §
Herself and All Others Similarly Situated,      §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §       CIVIL ACTION NO. 3:20-cv-1368
                                                §
EMERGENCY MEDICINE SPECIALISTS,                 §       COLLECTIVE ACTION
L.L.P. (a/k/a and/or d/b/a FASTERCARE           §
URGENT CARE CENTER, FASTERCARE                  §
URGENT CARE & WELLNESS CENTER                   §
and/or FASTERCARE), MARK INGRAM,                §
and MISTY INGRAM,                               §
                                                §
       Defendants.                              §

                           PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff, Carolyn Anderson (“Plaintiff”), on behalf of herself and all others similarly

situated, files this Complaint against Emergency Medicine Specialists, L.L.P. (a/k/a and/or d/b/a

Fastercare Urgent Care Center, Fastercare Urgent Care & Wellness Center, and/or Fastercare)

(“Fastercare”), Mark Ingram, and Misty Ingram (collectively “Defendants”), showing in support

as follows:

                                   NATURE OF THE CASE

       1.      This is a civil action brought by Plaintiff pursuant to the federal Fair Labor

Standards Act, 29 U.S.C. §§ 201-219, and the federal Portal-to-Portal Pay Act, 29 U.S.C. §§ 251-

262, (collectively “FLSA/PPPA”) for Defendants’ failure to pay Plaintiff time and one-half her

regular rate of pay for all hours worked over 40 during each seven day workweek during the time

period relevant to this lawsuit.

       2.      Plaintiff worked for Fastercare as an hourly paid nurse practitioner from

approximately July 2017 to approximately May 2020. During that time period, Fastercare, by


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actions of its officers, owners, and/or managers Mark Ingram and Misty Ingram, changed

Plaintiff’s label between 1099 independent contractor and W-2 employee although Plaintiff was

an employee at all times under the FLSA/PPPA and entitled to time and one-half her regular rate

of pay for each and every hour worked over 40 during all workweeks.

        3.     During all time periods that Defendants labeled Plaintiff as a so-called 1099

independent contractor, it did not pay Plaintiff time and one-half her regular rate of pay for each

and every hour worked over 40 although Plaintiff regularly worked over 40 hours per workweek

during such time periods.

        4.     During some workweeks in which Defendants correctly labeled Plaintiff as W-2

employee, it did not pay Plaintiff time and one-half her regular rate of pay for all overtime hours

worked.

        5.     Plaintiff files this lawsuit on behalf of herself and as a FLSA/PPPA collective action

on behalf of all other similarly situated current and/or former hourly paid nurse practitioners of

Fastercare who, like Plaintiff, are not/were not paid time and one-half their respective regular rates

of pay for all hours worked over 40 in each seven-day workweek in the time period of three years

preceding the date this lawsuit was filed and forward.

        6.     Plaintiff and the collective action members seek all damages available under the

FLSA/PPPA, including back wages, liquidated damages, legal fees, costs, and post-judgment

interest.

                       THE PARTIES, JURISDICTION, AND VENUE

Plaintiff Carolyn Anderson

        7.     Plaintiff is a natural person. She has standing to file this lawsuit.




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       8.      By filing this lawsuit and complaint, Plaintiff consents to be a party plaintiff to this

FLSA/PPPA action pursuant to 29 U.S.C. § 216(b). Plaintiff’s consent to join is attached to this

Complaint as Exhibit A.

Collective Action Members

       9.      The putative collective action members are all current and/or former hourly paid

nurse practitioners who work/worked for Defendants that are not/were not paid time and one-half

their respective regular rates of pay for all hours worked over 40 for Defendants during each seven-

day workweek in the time period relevant to this lawsuit. Because Defendants do not and did not

pay all overtime premium compensation to its hourly paid nurse practitioners who routinely

work(ed) in excess of 40 hours per workweek, Plaintiff and the putative collective action members

are all similarly situated within the meaning of Section 216(b) of the FLSA/PPPA.

       10.     Plaintiff reserves the right to redefine the class, request more than one class, and/or

request sub-classes relative to any motion for conditional certification filed in this lawsuit.

Defendant Emergency Medicine Specialists, L.L.P. (a/k/a and/or d/b/a Fastercare Urgent
Care Center, Fastercare Urgent Care & Wellness Center, and/or Fastercare)

       11.     Fastercare is a domestic limited liability company.

       12.     During all times relevant to this lawsuit, Fastercare has done business in the State

of Texas.

       13.     At all times relevant to this lawsuit, Fastercare is and has been an “enterprise

engaged in commerce" as defined by the FLSA.

       14.     At all times relevant to this lawsuit, Fastercare employed, and continues to employ,

two or more employees.




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       15.     At all times relevant to this lawsuit, Fastercare employed two or more employees

who engaged in commerce and/or who handled, sold, or otherwise worked on goods and/or

materials that have been moved in and/or produced for commerce by any person.

       16.     For example, Fastercare employed two or more employees who regularly handled,

sold, and/or otherwise worked on goods and/or materials in their daily work that are/were moved

in and/or produced for commerce. Examples of such goods and/or materials include medical

equipment, medical supplies, computers, computer related equipment, and communications

equipment.

       17.     On information and belief, at all times relevant to this lawsuit, Fastercare has had

annual gross sales or business volume in excess of $500,000.

Mark Ingram

       18.     Mark Ingram is a natural person who resides in Dallas County, Texas.

       19.     During Plaintiff’s work for Fastercare, Mark Ingram was an officer, director and/or

member of Fastercare.

       20.     During Plaintiff’s work for Fastercare, Mark Ingram had operational control over

Fastercare’s compliance with the overtime wage provisions of the FLSA/PPPA. Mark Ingram

made policy, practice, and/or operational decisions which resulted in the FLSA/PPPA violations

complained of by Plaintiff in this lawsuit.

       21.     During Plaintiff’s work for Fastercare, Mark Ingram was active in the daily

business operations of Fastercare and had decision making authority and/or responsibility for

Fastercare’s compliance with the overtime wage provisions of the FLSA/PPPA with respect to

Plaintiff and other hourly paid nurse practitioners working for Fastercare.




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       22.        Mark Ingram had the power to hire and fire Plaintiff and other hourly paid nurse

practitioners working for Fastercare.

       23.        Mark Ingram had supervisory authority over the Plaintiff and other hourly paid

nurse practitioners working for Fastercare.

       24.        Mark Ingram determined the terms and conditions of employment and/or work for

Plaintiff and other hourly paid nurse practitioners working for Fastercare. Such terms and

conditions included whether Plaintiff and other hourly paid nurse practitioners working for

Fastercare were labeled as W-2 employees or 1099 contractors and whether Plaintiff and other

hourly paid nurse practitioners working for Fastercare were paid all overtime premium

compensation owed for all overtime hours worked in each workweek.

       25.        Mark Ingram made payroll decisions as to Plaintiff and other hourly paid nurse

practitioners working for Fastercare. Such payroll decisions including determining the methods,

rates, amounts, and timing of compensation. Such payroll decisions also included whether Plaintiff

and other hourly paid nurse practitioners of Fastercare were labeled as W-2 employees or 1099

independent contractors, and whether they were paid overtime premium pay for all weekly

overtime hours worked.

       26.        Mark Ingram had the authority to determine the policy for maintaining work

records and/or employment records for Plaintiff and other hourly paid nurse practitioners working

for Fastercare.

       27.        Mark Ingram was/is an employer of Plaintiffs and the putative collective action

members pursuant to the FLSA. Additionally, or in the alternative, Mark Ingram, along with

Fastercare and/or Misty Ingram, is/was a joint employer of Plaintiff and the putative collective

action members.




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Misty Ingram

       28.     Misty Ingram is a natural person.

       29.     During Plaintiff’s work for Fastercare, Misty Ingram was an officer, director and/or

member of Fastercare.

       30.     Misty Ingram currently represents to the public that she is the managing partner of

Fastercare.

       31.     During Plaintiff’s work for Fastercare, Misty Ingram had operational control over

Fastercare’s compliance with the overtime wage provisions of the FLSA/PPPA. Misty Ingram

made policy, practice, and/or operational decisions which resulted in the FLSA/PPPA violations

complained of by Plaintiff in this lawsuit.

       32.     During Plaintiff’s work for Fastercare, Misty Ingram was active in the daily

business operations of Fastercare and had decision making authority and/or responsibility for

Fastercare’s compliance with the overtime wage provisions of the FLSA/PPPA with respect to

Plaintiff and other hourly paid nurse practitioners working for Fastercare.

       33.     Misty Ingram had the power to hire and fire Plaintiff and other hourly paid nurse

practitioners working for Fastercare.

       34.     Misty Ingram had supervisory authority over the Plaintiff and other hourly paid

nurse practitioners working for Fastercare.

       35.     Misty Ingram determined the terms and conditions of employment and/or work for

Plaintiff and other hourly paid nurse practitioners working for Fastercare. Such terms and

conditions included whether Plaintiff and other hourly paid nurse practitioners working for

Fastercare were labeled as W-2 employees or 1099 independent contractors and whether Plaintiff




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and other hourly paid nurse practitioners working for Fastercare were paid all overtime premium

compensation owed for all overtime hours worked in each workweek.

        36.       Misty Ingram made payroll decisions as to Plaintiff and other hourly paid nurse

practitioners working for Fastercare. Such payroll decisions including determining the methods,

rates, amounts, and timing of compensation. Such payroll decisions also included whether Plaintiff

and other hourly paid nurse practitioners of Fastercare were labeled as W-2 employees or 1099

independent contractors, and whether they were paid overtime premium pay for all weekly

overtime hours worked.

        37.       Misty Ingram had the authority to determine the policy for maintaining work

records and/or employment records for Plaintiff and other hourly paid nurse practitioners working

for Fastercare.

        38.       Misty Ingram was/is an employer of Plaintiffs and the putative collective action

members pursuant to the FLSA. Additionally, or in the alternative, Misty Ingram, along with

Fastercare and/or Mark Ingram, is/was a joint employer of Plaintiff and the putative collective

action members.

Jurisdiction

        39.       Plaintiff incorporates the other sections of this complaint by reference as if set forth

fully in this section.

        40.       The Court has personal jurisdiction over Defendant based on both general and

specific jurisdiction.

        41.       During all times relevant to this lawsuit, Defendant has done business in the State

of Texas and continues to do business in the State of Texas.




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        42.     The Court has subject matter jurisdiction over this case based on federal question

jurisdiction, 28 U.S.C. § 1331, because Plaintiff bases her claims on federal law, namely the

FLSA/PPPA.

                                   FACTUAL BACKGROUND

        43.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        44.     Fastercare is a stand-alone medical center in Richardson, Texas and

represents/advertises to the public that it is capable of diagnosing and treating a wide range of

medical problems. Fastercare represents/advertises to the public that its services include x-rays,

facture stabilization and care, IV fluids and medications, CLIA accredited lab testing, urine and

blood testing pregnancy testing, and fast tests for strep, mono, and flu. Fastercare advertises

treatment for cough, cold, flu, fever, asthma symptoms, allergy symptoms, sinus infections, ear

infections, pneumonia, bites, stings, rashes, poison ivy, sore throats, diarrhea/indigestion, UTI, and

pink eye. Fastercare also represents/advertises to the public that it provides flu shots and TB testing

in addition to evaluation and treatment of minor abdominal pain, minor accidents and injuries,

allergic reactions, dehydration, lacerations, minor burns, fracture care/broken bones, shortness of

breath, and removal of foreign objects from the body.

        45.     In connection with its medical services, Fastercare employs many workers

including nurse practitioners.

        46.     Plaintiff worked for Fastercare as an hourly paid nurse practitioner from

approximately July 2017 to approximately May 2020.

        47.     Plaintiff did not practice medicine for Defendants.

        48.     No hourly paid nurse practitioners of Defendants practice medicine while they

work(ed) for Defendants.


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       49.     Between approximately July 2017 to approximately May 2019, Defendants

paid/labeled Plaintiff as a 1099 status independent contractor. From approximately May 2019 to

approximately November 2019, Defendants paid/labeled Plaintiff as a W-2 status employee. From

approximately November 2019 to May 2020, Defendants paid/labeled Plaintiff as a 1099 status

independent contractor. The decisions to pay/label Plaintiff as a 1099 status independent contractor

or W-2 status employee were made by Mark Ingram and Misty Ingram. In connection with the last

change in status in approximately November 2019, Misty Ingram stated to Plaintiff that, along

with Mark Ingram, she had made the decision to convert Plaintiff back to 1099 status independent

contractor because it saved money.

       50.     Under the FLSA/PPPA, bona fide independent contractors are not entitled to

overtime premium pay whereas employees are entitled to such pay. Additionally, employers must

generally submit Federal Insurance Contributions Act (“FICA”) taxes for employees, and that

FICA tax is levied on both the employer and the employee. Companies are not required to pay

and/or submit FICA taxes for bona fide independent contractors. There are other benefits of

employment provided and/or paid by employers for their employees that are not provided and/or

paid for bona fide independent contractors.

       51.     During Defendants’ unilateral changes of Plaintiff’s label between 1099

independent contractor and W-2 employee, there were no material changes in Plaintiff’s job duties,

work location, typical hours worked, methods of pay, or rates of pay other than Plaintiff not being

paid overtime premium pay for overtime hours worked in addition to Defendants not withholding

and submitting FICA taxes and federal income taxes.

       52.     During some workweeks in which Defendants correctly labeled Plaintiff as W-2

employee, they did not pay Plaintiff time and one-half her regular rate of pay for all overtime hours




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worked. For example, in the pay period starting August 4, 2019 and end ending August 17, 2019,

Plaintiff worked at least 94.25 hours and was labeled as a W-2 employee. During that time period,

Plaintiff was paid straight time pay of $70 per hour for 75.25 hours and weekend shift differential

pay of $75 per hour for 19 hours. However, although Plaintiff worked overtime hours during those

workweeks, Defendants did not pay her any overtime premium pay for those overtime hours

worked.

       53.      During all time periods that Defendants labeled Plaintiff as a so-called independent

contractor, they did not pay Plaintiff time and one-half her regular rate of pay for each and every

hour worked over 40 although Plaintiff regularly worked over 40 hours per workweek during such

time periods.

       54.      Despite being labeled as so-called independent contractor, Plaintiff was an

employee of Defendants pursuant to the FLSA’s economic realities test at all material times.

       55.      Plaintiff worked exclusively for Defendants as a nurse practitioner for many

consecutive years.

       56.      In connection with working for Fastercare as a nurse practitioner labeled as a so-

called 1099 independent contractor:

                a.   Plaintiff performed the work assigned to her by Fastercare managers and

                     worked a weekly schedule set by Fastercare managers. Plaintiff was supervised

                     by Fastercare managers, and her work as a nurse practitioner was supervised by

                     medical doctor(s) employed by and/or working for Defendants.

                b. Plaintiff regularly worked in excess of 40 hours per workweek. Plaintiff’s

                     weekly hours worked for Defendants were to an extent that Plaintiff could not

                     and did not perform work for earned income outside of work for Defendants as




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            a nurse practitioner. For example, an average workweek had Plaintiff working

            50 to 60 hours for Defendants. Some workweeks had Plaintiff working over 80

            hours for Defendants.

         c. Defendants provided Plaintiff with the supplies and equipment needed to

            perform her nurse practitioner job duties for Defendants at Defendants’

            business location.

         d. Plaintiff was not permitted and did not hire employees to assist her with her

            nurse practitioner work for Defendants.

         e. Plaintiff did not exercise sufficient, if any, control over a meaningful part of the

            working relationship with Defendants so as to be a separate economic entity

            from Fastercare. Plaintiff was simply a part of Defendants’ workforce

            performing job duties and work that were integral parts of Defendants’ medical

            services business operations.

         f. Plaintiff provided no material investments in Defendants’ business operations,

            and Defendants’ investments in their medical services business operations

            exceed the investments, if any, of Plaintiff in connection with her work for

            Defendants. For example, Defendants provided the facility, medical equipment,

            medications, medical supplies, office supplies, and other necessary equipment

            and supplies where Plaintiff worked providing services to Defendants’

            customers/patients.

         g. Plaintiff was paid an hourly rate of pay by Defendants, and at times, a weekend

            shift differential that was also paid on an hourly basis. Plaintiff’s methods and

            rates of pay were determined by Defendants as opposed to Plaintiff. The more




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                   hours Plaintiff worked for Defendants, the more money she earned. Plaintiff

                   had no opportunity for loss. Instead, there was only opportunity for earned

                   income based upon the number of hours worked for Defendants. Accordingly,

                   Defendants controlled all opportunities for profit and loss in connection with

                   Plaintiff’s nurse practitioner work for Defendants.

               h. All major components open to initiative--advertising, pricing, and business

                   decision making were controlled by Defendants. For example, Defendants

                   advertised the medical services it provided in connection with Plaintiff’s nurse

                   practitioner work for Defendant.

       57.     During the time period relevant to this lawsuit, Defendants had and continue to

have several other workers performing work as hourly paid nurse practitioners at the same location

as Plaintiff. Those other nurse practitioners have/had substantially similar job duties as Plaintiff.

Like Plaintiff, those nurse practitioners are/were supervised by Defendants’ managers, namely

Mark Ingram and Misty Ingram, work(ed) exclusively for Defendants at the direction of

Defendants, are/were provided with all material supplies and equipment to do their jobs for

Defendants. Like Plaintiff, the methods and rates of pay for those nurse practitioners is/was

determined by Defendants. Like Plaintiff, those nurse practitioners make/made no material

investment in Defendants’ business operations. Like Plaintiff, those nurse practitioners typically

work(ed) for exclusively for Defendants for long periods of time. Like Plaintiff, those other nurse

practitioners have/had no control over their opportunity for profit or loss in connection with their

work for Defendants. Like Plaintiff, those nurse practitioners are/were economically dependent on

Defendants when they worked for Defendants and were labeled as so-called 1099 independent

contractors. Like Plaintiff, those other nurse practitioners regularly work(ed) in excess of 40 hours




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in a workweek but are not/were not paid time and one-half their respective regular rates of pay by

Defendants for all hours worked over 40 in each and every such workweek during the relevant

time period.

       58.     Defendants are and were required to pay Plaintiff and the putative collective action

members time and one-half their respective regular rates of pay when they worked in excess of 40

hours in each and every seven-day workweek pursuant to 29 U.S.C. § 207(a)(1).

       59.     Defendants do not and did not pay Plaintiff and the putative collective action

members time and one-half their respective regular rates of pay for each and every hour worked

over 40 in each workweek in the time period relevant to this lawsuit.

       60.     The failure of Defendants to pay Plaintiff and the putative collective action

members time and one-half their respective regular rates of pay for each and every hour worked

over 40 in each seven-day workweek in the time period relevant to this lawsuit is a violation of the

FLSA/PPPA.

                               CONTROLLING LEGAL RULES

       61.     The FLSA states that “no employer shall employ any of his employees who in any

workweek is engaged in commerce or in the production of goods for commerce, or is employed in

an enterprise engaged in commerce or in the production of goods for commerce, for a workweek

longer than forty hours unless such employee receives compensation for his employment in excess

of the hours above specified at a rate not less than one and one-half times the regular rate at which

he is employed.” 29 U.S.C. § 207(a)(1).

       62.     “Employ” includes to suffer or permit work. 29 U.S.C. § 203(g).

       63.     Whether an individual is an employee, who is covered by the FLSA’s/PPPA’s

provisions, as opposed to an independent contractor, who is not covered by the FLSA/PPPA, is

determined by the economic realities test. Hopkins v. Cornerstone Am., 545 F.3d 338, 343 (5th


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Cir. 2008). The purpose of the economic realities test is to determine whether “the worker is

economically dependent upon the alleged employer or is instead in business for himself.” Id.

       64.     District Courts within the Fifth Circuit consider the following five factors in

assessing the economic reality of the working relationship: (1) the degree of control exercised by

the alleged employer; (2) the extent of the relative investments of the worker and the alleged

employer; (3) the degree to which the worker's opportunity for profit or loss is determined by the

alleged employer; (4) the skill and initiative required in performing the job; and (5) the permanency

of the relationship. Id. at 343 (citing Herman v. Express Sixty-Minutes Delivery Serv., Inc., 161

F.3d 299, 303 (5th Cir. 1998)). The Fifth Circuit further holds that: “[n]o single factor is

determinative. Rather, each factor is a tool used to gauge the economic dependence of the alleged

employee, and each must be applied with this ultimate concept in mind.” Id. (citing Herman, 161

F.3d at 303 and Brock v. Mr. W Fireworks, Inc., 814 F.2d 1042, 1043-44 (5th Cir. 1987)).

       65.     Individual owners, officers, and/or managers may be liable, along with corporate

employer, for FLSA/PPPA damages to employees. See, e.g., Gray v. Powers, 673 F.3d 352, 357

(5th Cir. 2012). (“The dominant theme in the case law is that those who have operating control

over employees within companies may be individually liable for FLSA violations committed by

the companies.”).

       66.     “When determining whether joint employment exists, courts examine the totality

of the circumstances—focusing on the economic realities of the particular employment

relationship.” Parker v. ABC Debt Relief Co., No. 3:10-CV-1332-P, 2013 WL 371573, at *4 (N.D.

Tex. Jan. 28, 2013) (citing Reich v. Prima Corp., 890 F.Supp. 586, 590 (N.D.Tex.1995); Wirth v.

Lone Star Steel Co., 405 F.2d 668, 669 (5th Cir.1968)). “Joint employment is construed broadly,

and labels and contractual terms used in a particular relationship are largely unimportant.” Id.




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       67.     Federal law requires employers to make and keep accurate and detailed payroll data

for non-exempt employees. 29 U.S.C. § 211(c); 29 C.F.R. § 516.2. Amongst other things, the

regulations require employers to make and keep payroll records showing data such as the

employee’s name, social security number, occupation, time of day and day of week which the

workweek begins, regular hourly rate of pay for any week in which overtime pay is due, hours

worked each workday and total hours worked each workweek, total daily or weekly straight time

earnings, total premium pay for overtime hours, total wages paid each pay period and date of

payment and pay period covered by the payment, and records of remedial payments. 29 C.F.R. §

516.2(a)&(b). Employers are required to maintain the foregoing data for a minimum of three years.

29 C.F.R. § 516.5.

       68.     Where the employer does not keep an accurate record of the daily and weekly hours

worked by an employee as required by the FLSA, the employee may prove their unpaid overtime

hours and damages "as a matter of just and reasonable inference." Olibas v. Native Oilfield Servs.,

LLC, 104 F. Supp. 3d 791, 801 (N.D. Tex. 2015) (Boyle, J.), aff'd sub nom. Olibas v. Barclay, 838

F.3d 442 (5th Cir. 2016).

       69.     The FLSA defines the “regular rate” as including “all remuneration for employment

paid to, or on behalf of, the employee … .” 29 U.S.C. § 207(e).

       70.     With a few limited exceptions, all remuneration given to an employee must be

included in the employee’s regular rate calculation. 29 U.S.C. § 207(e); 29 C.F.R. § 778.108;

accord Allen v. Board of Pub. Educ. For Bibb Cty., 495 F. 3d 1306, 1311 (11th Cir. 2007); see

also Johnson v. Big Lots Stores, Inc., 604 F. Supp. 2d 903, 927 (E.D. La. 2009). The employer has

the burden of proof to establish that any remuneration may be excluded from the regular rate of




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pay. Meadows v. Latshaw Drilling Co., LLC, 338 F. Supp. 3d 587, 591 (N.D. Tex. 2018) (Godbey,

J.).

          71.   Failing to pay the required overtime premium for hours worked over 40 in a

workweek is a violation of 29 U.S.C. § 216(b).

          72.   Nurse practitioners do not “qualify to practice medicine under Texas law.” Belt v.

Emcare, Inc., 444 F.3d 403, 412 (5th Cir. 2006).

                                      FLSA/PPPA CLAIMS

          73.   Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

          74.   At all times relevant to this lawsuit, Plaintiff and the putative collective action

members are/were employees of Fastercare, Mike Ingram, and/or Misty Ingram pursuant to the

FLSA/PPPA. 29 U.S.C. § 203(e); Wirtz, 405 F.2d at 669-70. Although Defendants, at times,

labeled/treated Plaintiff and the putative collective action members as a so-called 1099

independent contractors, the economic reality is that Plaintiff and the putative collective action

members are/were employees of Fastercare, Mike Ingram, and/or Misty Ingram under the

FLSA/PPPA. Additionally, or in the alternative, Fastercare, Mike Ingram, and/or Misty Ingram

are/were joint employers of Plaintiff and the putative collective action members pursuant to the

FLSA/PPPA.

          75.   At all material times, Fastercare has been an eligible and covered employer

pursuant to the FLSA. 29 U.S.C. § 203(d).

          76.   At all material times, Fastercare is and has been an enterprise engaged in commerce

as that phrase is used in connection with the FLSA/PPPA.

          77.   Plaintiff and the putative collective action members routinely work(ed) in excess

of 40 hours per seven-day workweek for Defendants in the time period relevant to this lawsuit.


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       78.     At all times relevant to this lawsuit, Plaintiff and the putative collective action

members are and/or were entitled to overtime premium compensation from Defendants at one and

one-half times their respective regular rates of pay for each and every hour worked over 40 in all

workweeks. 29 U.S.C. § 207(a)(1).

       79.     Defendants failed to pay Plaintiff and the putative collective action members

overtime premium pay at one and one-half times their respective regular rates of pay for all hours

worked over 40 in each and every seven-day workweek during the time period relevant to this

lawsuit.

       80.     Defendants do not and did not maintain an accurate number of the daily and weekly

hours worked by Plaintiff and the putative collective action members for each workday and

workweek during the relevant time period of this lawsuit. 29 C.F.R. § 516.2(a).

       81.     Defendants’ violations of the FLSA are and were willful within the meaning of 29

U.S.C. § 255(a). See Singer v. City of Waco, 324 F.3d 813, 821-22 (5th Cir. 2003) (upholding a

jury finding of willfulness). For example, Plaintiff was told that Defendants decided to change her

label and pay structure to that of a 1099 independent contractor in approximately November 2019

so that Defendants could save money. Also, shortly before the end of her work for Defendants,

Plaintiff told Defendants that she believed she should be paid overtime pay even when labeled as

an independent contractor after reading a story about a case styled Belt v. Emcare, but was told by

Defendants that they did not have to pay her overtime pay because she was allegedly an

independent contractor. Plaintiff, on behalf of herself and all others similarly situated, specifically

pleads recovery for the maximum limitations period allowed by the FLSA/PPPA.

       82.     Plaintiff and the putative collective action members seek all damages available for

Fastercare’s, Mike Ingram’s, and/or Misty Ingram’s violations of the FLSA/PPPA.




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                             FLSA/PPPA COLLECTIVE ACTION

        83.     Plaintiff incorporates the preceding paragraphs by reference as if set forth fully in

this section.

        84.     Plaintiff seeks to represent a collective action under 29 U.S.C. § 216(b) on behalf

of herself and all current and/or former hourly paid nurse practitioners who work/worked for

Defendants that are not/were not paid time and one-half their respective regular rates of pay by

Defendants for all hours worked over 40 during each seven-day workweek in the time period

relevant to this lawsuit. Because Defendants do not and did not pay all overtime premium

compensation to its hourly paid nurse practitioners who routinely work(ed) in excess of 40 hours

per workweek, Plaintiff and the putative collective action members are all similarly situated within

the meaning of Section 216(b) of the FLSA/PPPA.

        85.     Plaintiff reserves the right to redefine the class, request more than one class, and/or

request sub-classes relative to any motion for conditional certification filed in this lawsuit.

                                     DAMAGES AND PRAYER

        86.     Plaintiff asks that the Court issue a summons for Defendants to appear and answer,

and that Plaintiff and the Collective Action Members be awarded a judgment against Fastercare,

Mike Ingram, and/or Misty Ingram and/or order(s) from the Court for the following:

                a.     An order conditionally certifying this case as a FLSA/PPPA collective
                       action and requiring notice to be issued to all putative collective action
                       members;

                b.     All damages allowed by the FLSA/PPPA, including back overtime wages;

                c.     Liquidated damages in an amount equal to back FLSA/PPPA mandated
                       wages;

                d.     Legal fees;

                e.     Costs;



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             f.       Post-judgment interest; and/or

             g.       All other relief to which Plaintiff and the Collective Action Members are
                      entitled.

Date: May 27, 2020.

                                                   Respectfully submitted,


                                                   By:      s/ Allen R. Vaught
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